Filed 03/24/23                                                      Case 23-10059                                                 Doc 11

     FORM L51 Final Decree (v.9.14)                                                                                 23−10059 − A − 7

                   UNITED STATES BANKRUPTCY COURT
                        Eastern District of California
                              Robert E. Coyle United States Courthouse
                                   2500 Tulare Street, Suite 2501
                                      Fresno, CA 93721−1318

                                               (559) 499−5800
                                            www.caeb.uscourts.gov
                                            M−F 9:00 AM − 4:00 PM



                                                                FINAL DECREE


     Case Number:             23−10059 − A − 7
     Debtor Name(s), Social Security Number(s), and Address(es):


        Scott Burton Enterprises, Inc.

        77−0003615
        525 Quail Rock Avenue
        Bakersfield, CA 93308

     OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
       Western Floor Covering




     Trustee:                         Jeffrey M. Vetter
                                      PO Box 2424
                                      Bakersfield, CA 93303

     Telephone Number:                (661) 809−6806



     Office of the United States Trustee:
            For cases in the Sacramento Division and Modesto Division: 501 I Street, Room 7−500, Sacramento, CA 95814
            For cases in the Fresno Division: 2500 Tulare Street, Suite 1401, Fresno, CA 93721



         It appearing to the court that the Trustee in the above−entitled case has completed administration of this estate,
        IT IS ORDERED that the estate is hereby closed, that the trustee is hereby discharged, and that the trustee's bond is
        hereby released from further liability, except any liability which may have accrued during the time such bond was in
        effect for the estate of this case.


     Dated:                                                             For the Court,
     3/24/23                                                            Wayne Blackwelder , Clerk
